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                                 UNITED STATES DISTRICT COURT
 11
                             CENTRAL DISTRICT OF CALIFORNIA
 12
                                       WESTERN DIVISION
 13
 14
 15   Jenny Lisette Flores., et al.,                 Case No. CV 85-4544-DMG-AGRx

 16                    Plaintiffs,                   MEMORANDUM OF POINTS AND
                                                     AUTHORITIES IN SUPPORT OF
 17         v.                                       PLAINTIFFS’ EX PARTE
 18                                                  APPLICATION FOR TEMPORARY
      William Barr, Attorney General of the
                                                     RESTRAINING ORDER AND
 19   United States, et al.,
                                                     ORDER TO SHOW CAUSE RE
 20                    Defendants.                   PRELIMINARY INJUNCTION.
 21                                                  Hearing: None set
 22
                                                     [HON. DOLLY M. GEE]
 23
 24
 25
 26
 27
 28
                                                             MEMORANDUM OF PS&AS IN SUPPORT OF EX
                                                           PARTE APPLICATION FOR TRO AND OSC WHY A
                                                           PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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  1
      I.        INTRODUCTION
  2
  3
                On January 28, 1997, this Court approved the Flores Settlement Agreement
  4   (“Agreement”). See Flores v. Sessions, 862 F.3d 863, 866 (9th Cir. 2017). Plaintiffs
  5   now seek a temporary order protecting class members whom the Defendants the
  6   Immigration and Customs Enforcement (“ICE”) and Office of Refugee Resettlement
  7   (“ORR”) are holding in congregate detention from the clear and present danger the
  8   COVID-19 pandemic poses to their safety and well-being.1
  9             Medical experts, including the United States Center for Disease Control and
 10   Prevention (“CDC”), unanimously demand that everyone practice physical distancing,
 11   avoid groups of ten or more, self-isolate, and take like precautions that are all but
 12   impossible for children held in congregate detention primarily because of Defendants
 13   non-compliance with plain terms of the Agreement.2
 14             The spread of COVID-19 into Defendants’ facilities is not speculative.3 It has
 15   already infected ORR’s MercyFirst and Abbott House congregate facilities in New

 16   1
        “[A] motion to enforce [a] settlement agreement essentially is an action to
 17   specifically enforce a contract.” Adams v. Johns-Manville Corp., 876 F.2d 702, 709
 18   (9th Cir. 1989). As described numerous times in this litigation, the Flores
      Settlement is a consent decree. See, e.g., Flores v. Sessions, 862 F.3d 863, 874 (9th
 19   Cir. 2017); Order re Pls.’ Mot. to Enforce at 3 [Doc. # 177]; Order re Pls.’ Mot. to
 20   Enforce & Appoint a Special Monitor at 2–4 [Doc. # 363]. Because consent decrees
      have ‘many of the attributes of ordinary contracts [and] . . . should be construed
 21   basically as contracts,’ the doctrine of substantial compliance, or substantial
 22   performance, may be employed.” Jeff D. v. Otter, 643 F.3d 278, 283–84 (9th Cir.
      2011) (internal citation omitted).
 23   2
        Just days ago this Court of Appeals stated in brief and stark terms: “In light of the
 24   rapidly escalating public health crisis, which public health authorities predict will
      especially impact immigration detention centers, the court sua sponte orders that
 25   Petitioner be immediately released from [immigration] detention and that removal
 26   of Petitioner be stayed pending final disposition by this court.” Xochiohua-Jaimes
      v. Barr, No.18-71460 (March 23, 2020) (citations omitted).
 27   3
        ORR has stopped placing children in detention facilities in California,
 28   Washington, Oregon and Pennsylvania. Declaration of Peter Schey, March 24,
      2020, Exhibit at ¶ (“Schey”).

                                                         1
          MEMORANDUM OF PS&AS IN SUPPORT OF EX PARTE APPLICATION FOR TRO AND OSC WHY A PRELIMINARY INJUNCTION
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  1   York and facilities housing ICE detainees.4 At least one child is now in quarantine
  2   awaiting test results in the ICE family detention center in Berks, Pennsylvania.
  3   Declaration of Bridget Cambria ¶ 36 (“Cambria Decl.”) (Exhibit H).
  4         The Agreement “sets out nationwide policy for the detention, release, and
  5   treatment of minors in the custody of the [Defendants] …” Agreement at ¶ 9. The

  6   certified class includes “[a]ll minors who are detained in the legal custody of the

  7   [Defendants].” Id. ¶ 10. It requires that Defendants “treats[ ] and shall continue to
      treat, all minors in its custody with dignity, respect and special concern for their
  8
      particular vulnerability as minors.” Id. ¶ 11.5 It requires that except for class members
  9
      who are flight risks or a danger, class members shall be released without unnecessary
 10
      delay to listed sponsors, id. ¶¶ 14 and 18, and if not promptly released, must “as
 11
      expeditiously as possible,” id. ¶ 12.A.3, be transferred to a “non-secure” program
 12
      licensed by a state for the care of dependent children. Id. ¶¶ 6 and 19, and Exhibit 1.
 13
            The obvious ways to comply with the Agreement and protect class members’
 14
      safety are to (1) expedite children’s release to sponsors identified in Paragraph 14, and
 15
      (2) not detain children in congregate unlicensed facilities where their risk of exposure
 16
      to COVID-19 is high.
 17         At the same time, the Agreement’s terms that encourage and ensure compliance
 18   with the Agreement’s substantive rights must also be enforced, including for example,
 19   providing class members not released with an explanation for the decision to detain
 20   them, providing access to legal counsel and notices to legal counsel necessary for
 21
      4
 22     See Hamed Aleaziz, A Staff Member at a Facility Housing Unaccompanied
      Immigrant Children Has Tested Positive for the Coronavirus, BUZZFEED NEWS,
 23   March 19, 2020, available at www.buzzfeednews.com/article/hamedaleaziz/staff-
 24   member-coronavirus-diagnosis-unaccompanied-immigrant (last visited March 26,
      2020). See also Hamed Aleaziz, An ICE Detainee Has Become the First to Test
 25   Positive for the Coronavirus, BUZZFEED NEWS, March 24, 2020, available at
 26   www.buzzfeednews.com/article/hamedaleaziz/immigrant-ice-detention-facility-
      coronavirus-test (last visited Mar. 26, 2020)
 27   5
        It also requires that “[f]ollowing arrest, the [Defendants] shall hold minors in
 28   facilities that are safe and sanitary and that are consistent with the [Defendants’]
      concern for the particular vulnerability of minors.” Id. ¶ 12.A.
                                                         MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
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  1   class members to knowingly and intelligently exercise their Flores rights, and
  2   recording Defendants’ prompt and “continuous” efforts aimed at release that the
  3   Agreement requires.
  4         Under present circumstances, it is reasonable and necessary to order Defendants
  5   to promptly release children to available custodians, or if they are not entitled to

  6   release under Paragraph 14, to transfer them to non-congregate settings, or justify why

  7   it has done neither. Unless they are a flight risk or a danger, or there is good cause for
      not doing so,6 minors should generally be released within seven days. To insure that
  8
      Defendants are complying with the Agreement and making prompt efforts aimed at
  9
      the release of minors, Defendants should provide the Special Master and Class
 10
      Counsel the information identified by this Court in its Order Appointing Special
 11
      Master [Doc. # 494] at B.1.c.i(i)-(x), ii(i)-(vi), and iii. These measures will reduce the
 12
      number of detained class members remaining in congregate detention making more
 13
      room and more medical resources available to them, and thus providing them a better
 14
      chance to protect themselves against an onslaught of contagion.
 15
      II.   STATEMENT OF FACTS
 16
 17         A.     The COVID-19 Global Pandemic Demands Measures be Taken to
                   Enforce the Agreement and Protect the Health and Safety of Class
 18                Members.
 19         COVID-19 is a novel, deadly and highly infectious disease that has developed
 20   into a global pandemic and spread in all 50 states. Declaration of Dr. Katherine Peeler
 21   (“Peeler Decl.”) ¶ 5 (Exhibit A); Declaration of Dr. Craig W. Haney (“Haney Decl.”)
 22   ¶ 3 (Exhibit B); Declaration of Dr. Julie DeAun Graves ¶ 6 (“Graves Decl.”) (Exhibit
 23   C); Declaration of Jaimie Meyer ¶ 20 (“Meyer Decl.”) (Exhibit D). At present there is

 24   no vaccine and no cure for COVID-19. Haney Decl. ¶ 5. No one has immunity. Haney

 25   Decl. ¶ 5. The disease spreads through respiratory droplets and can be transmitted

 26
 27
      6
 28     Defendants may possess good cause for any legitimate reason involving the
      release of a minor including the unavailability of a sponsor.
                                                         MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
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  1   through person to person contact—including contact with asymptotic individuals—
  2   and through contact with inanimate surfaces. Meyer Decl. ¶ 20; Graves Decl. ¶ 8.
  3         In the United States, about 52,215 people have been diagnosed and at least 675
  4   people have died as of March 24, 2020. Peeler Decl. ¶ 5.7 Given the severe shortage of
  5   COVID-19 tests, these numbers underestimate the true spread of the disease. Graves

  6   Decl. ¶ 7. This pandemic has unfortunately already reached the ORR and ICE

  7   systems, with several staff members at ORR facilities and at least one ICE detainee
      testing positive for COVID-19.8
  8
  9
            B.     Class Members Detained in Congregate Settings Are At High Risk of
 10                Contracting COVID-19.
 11
            Almost all class members not released by Defendants are incarcerated in
 12
      congregate settings in ICE detention centers and ORR contract facilities in close and
 13
      constant proximity to other children, adults, and staff members. See Cambria ¶ 10, 15-
 14
      19, 27; Declaration of Shalyn Fluharty (“Fluharty Decl.”) ¶ 6-18, 21 (Exhibit I);
 15   Declaration of Andrea Meza (“Meza Decl.”) ¶ 40 (Exhibit J).9 As the CDC has
 16
 17   7
        For updated statistics, see Coronavirus COVID-19 Global Cases, Ctr. Systems
 18   Science & Engineering, Johns Hopkins Univ., (JHU),
      https://gisanddata.maps.arcgis.com/apps/opsdashboard/index.html#/bda759470fd40
 19   2994423467b48e9ecf6.
      8
 20     Camilo Montoya-Galvez, 3 workers at facilities housing migrant kids in U.S.
      custody test positive for coronavirus, CBS NEWS, March 23, 2020,
 21   https://www.cbsnews.com/news/coronavirus-migrant-children-workers-test-
 22   positive. Priscilla Alvarez and Catherine E. Shoichet, First ICE Detainee Tests
      Positive for Coronavirus, CNN, Mar. 24, 2020,
 23   https://www.cnn.com/2020/03/24/us/ice-detainee-coronavirus/index.html.
      9
 24     See Office of Refugee Resettlement, Children Entering the United States
      Unaccompanied: Guide to Terms, https://www.acf.hhs.gov/orr/resource/children-
 25   entering-the-united-states-unaccompanied-guide-to-terms (defining “shelter,” for
 26   example, as “a residential care provider facility in which all of the programmatic
      components are administered on-site …”); see also Amra Uzicanin and Joanna
 27   Gaines, Community Congregate Settings, CDC FIELD EPIDEMIOLOGY MANUAL,
 28   U.S. Centers for Disease Control and Prevention, https://www.cdc.gov/eis/field-epi-

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   1   warned, detained individuals who “live, work, eat, study, and recreate within
   2   congregate environments” are at heightened risk of contracting COVID-19.10
   3                1.     Pandemic Risks in Congregate Settings
   4         COVID-19 is a highly contagious disease for which there is no cure or vaccine.
   5   Graves Decl. ¶ 8; Haney Decl. ¶ 5. In the United States, about 69,246 people have

   6   been diagnosed and at least 1,046 people have died as of 9:08AM Pacific Standard

   7   Time on March 26, 2020.11 The only known way to avoid transmission of COVID-19
       is for individuals to engage in “social distancing” (maintaining a distance of at least
   8
       six feet from the nearest person) and frequent hand washing. Graves Decl. ¶ 8. For
   9
       this reason, the CDC deems social distancing a “cornerstone of reducing transmission
  10
       of respiratory diseases such as COVID-19.”12
  11
             The rapid transmission of COVID-19 in congregate settings is clearly
  12
       evidenced by the tragic spread of the virus within cruise ships, nursing homes, and
  13
       prisons worldwide. Over 800 people tested positive for COVID-19 on cruise ships in
  14
       Japan and off the coast of California.13 At a nursing home facility in Kirkland,
  15
       Washington, two-thirds of the residents and 47 staff tested positive for COVID-19,
  16
       with 35 people ultimately dying from the virus.14 On March 21, 2020, Mayor de
  17
  18   manual/chapters/community-settings.html (last reviewed Dec. 13, 2018) (defining
       “congregate settings” to include “detention facilities”).
  19   10
          U.S. Centers for Disease Control, Interim Guidance on Management of
  20   Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities,
       Mar. 23, 2020, https://www.cdc.gov/coronavirus/2019-ncov/community/correction-
  21   detention/guidance-correctional-detention.html (last checked March 25, 2020)
       11
  22      For updated statistics, see Coronavirus COVID-19 Global Cases, Ctr. Systems
       Science & Engineering, Johns Hopkins Univ.
  23   12
          Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
  24   Correctional and Detention Facilities.
       13
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  25   Coronavirus By Using Cruise Ship Data?, FORBES, Mar. 22, 2020,
  26   https://www.forbes.com/sites/victoriaforster/2020/03/22/what-have-scientists-
       learned-from-using-cruise-ship-data-to-learn-about-covid-19/#3591554f406d.
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  28   Suburban Nursing Home, THE NEW YORK TIMES, Mar. 21, 2020,

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   1   Blasio announced that at least 21 inmates and 17 employees at the Rikers Island
   2   Correctional Center tested positive for COVID-19, a drastic increase from the first
   3   case identified just three days earlier,15 and even more so a week later.16 As noted
   4   above, three workers at facilities housing class members in ORR custody have
   5   reportedly tested positive for coronavirus,17 and now at least seven children in a

   6   different facility await results.18 In addition, recent reports reveal that at least one ICE

   7   detainee and one ICE employee have tested positive,19 and ten (10) immigrant
       detainees at ICE’s Aurora facility are in isolation for possible exposure to
   8
       coronavirus.20
   9
  10
       https://www.nytimes.com/2020/03/21/us/coronavirus-nursing-home-kirkland-life-
  11   care.html; see also John Balance, Louisiana identifies new cluster of coronavirus
       cases in Donaldsonville retirement home, THE ADVOCATE, March 23, 2020,
  12
       https://www.theadvocate.com/batonrouge/news/coronavirus/articlea47f606c-6d33-
  13   11ea-83ff-139136d51400.html (discussing outbreaks at two Louisiana retirement
       homes).
  14   15
          21 Inmates, 17 Employees Test Positive for COVID-19 on Rikers Island, NBC
  15   NEW YORK, Mar. 21, 2020, https://www.nbcnewyork.com/news/coronavirus/21-
       inmates-17-employees-test-positive-for-covid-19-on-rikers-island-
  16
       officials/2338242/.
  17   16
          In just a few days, the number of confirmed cases has risen to at least 52 inmates
  18   with an additional 96 under observation and awaiting test results. Julia Craven,
       Rikers Island Has 52 Confirmed COVID-19 Cases, SLATE, Mar. 25, 2020,
  19   https://slate.com/news-and-politics/2020/03/coronavirus-is-spreading-on-rikers-
  20   island.html.
       17
          See n.3, supra.
  21   18
          Silvia Foster-Frau, Seven Migrant Children in Federal Custody Await
  22   Coronavirus Test Results, SAN ANTONIO EXPRESS NEWS, updated Mar. 25, 2020,
       available at https://www.expressnews.com/news/us-world/border-
  23   mexico/article/Seven-migrant-children-in-federal-custody-await-15154725.php
       19
  24      Id. (detainee); Hamed Aleaziz, Medical Worker at an ICE Detention Facility for
       Immigrants Has Tested Positive for the Coronavirus, BUZZ FEED NEWS, Mar. 19,
  25   2020, available at https://www.buzzfeednews.com/article/hamedaleaziz/ice-
  26   medical-worker-coronavirus.
       20
          Sam Tabachnik, Ten Detainees at Aurora’s ICE Detention Facility Isolated for
  27   Possible Exposure to Coronavirus, THE DENVER POST, March 17, 2020, available at
  28   https://www.denverpost.com/2020/03/17/coronavirus-ice-detention-geo-group-
       aurora-colorado/ (last checked March 24, 2020).
                                                           MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                   6        OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1         Correctional public health experts recommend that “to reduce the likelihood
   2   of exposure to detainees, facility personnel, and the general public, it is essential to
   3   consider releasing all detainees who do not pose an immediate risk to public
   4   safety.” Letter to Congress by Professors Scott Allen and Josiah Rich (March 19,
   5   2020) (“Letter to Congress”) at 6 (Exhibit G);21 Meyer Decl. ¶¶ 7-35.22 Promptly
   6   reducing the number of class members in congregate detention environments by
   7   expeditiously releasing them to sponsors as required by the Agreement will protect
   8   the safety of those minors as well as the communities around them.23
   9
  10
  11
       21
          Professors. Scott Allen and Josiah Rich serve as medical subject matter experts
  12
       for the Department of Homeland Security’s Office of Civil Rights and Civil
  13   Liberties (“CRCL”). Id. at 1. Dr. Allen has conducted numerous investigations of
       immigration detention facilities on CRCL’s behalf over the past five years. Id. at. 2.
  14   22
          Medical expert and instructor of pediatrics at Harvard Medical School Dr. Peeler,
  15   similarly declares:
       Releasing children into the custody of properly screened family sponsors is the best
  16
       and safest way to prevent the spread of disease and reduce the threat to this
  17   vulnerable detained people. This includes allowing families detained at family
  18   detention centers to be released together. It is my professional opinion that this step is
       both necessary and urgent. The window of opportunity is rapidly narrowing for
  19   mitigation of COVID-19 in these facilities. It is a matter of days, not weeks.
  20   Peeler Decl. ¶ 39 (emphasis supplied). In addition, “[c]hildren in particular are
       vulnerable to the mental health consequences of detention.” Declaration of Dr. Mira
  21   Zein (“Zein Decl.”) at 2 (Exhibit 9). Growing evidence demonstrates that PTSD,
  22   anxiety/stress, and depression can lead to decreased immune response and increased
       risk of infections. Id.at 1. People with a weakened immune system have an”
  23   increased risk of developing more severe forms of COVID-19, including
  24   complications like pneumonia, because their immune response is not strong enough
       to fight diseases like COVID-19.” Id. at 2.
  25   23
          An outbreak of COVID-19 in a congregate environment where class members are
  26   detained could quickly overwhelm local health care services and cause class
       members or Defendants’ staff to be transported to more distant hospitals and
  27   clinics, utilizing more resources and potentially exposing health care workers in
  28   communities where the disease has yet to become prevalent. See Graves at ¶ 36;
       Letter to Congress Profs. Allen and Rich at 4.
                                                          MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                  7        OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1                2.     Conditions at Defendants’ Detention Facilities
   2
             The congregate detention conditions at Defendants’ ICE and ORR facilities
   3
       renders it nearly impossible for detained class members to engage in the required
   4
       infection control policies, such as social distancing and increased hygiene, necessary
   5
       to mitigate the risk of COVID-19 transmission. Declaration of Dr. Nancy E. Wang
   6
       (“Wang Decl.”) at ¶ 17 (Exhibit E); Graves Decl. at ¶¶ 11-12; Letter to Congress at 5.
   7
             Defendants’ facilities share the risk factors of other congregate settings for the
   8
       spread of COVID-19. Children in Defendants’ facilities live in close quarters, share
   9
       multiple communal spaces every day, and cannot consistently maintain the
  10
       recommended six feet distance from others. Graves Decl. at ¶ 11-12.24
  11
                         a. ICE Detention Centers
  12         Class members in ICE detention facilities cannot maintain any semblance of
  13   nationally mandated social distancing, where they are in nearly constant close contact
  14   with other detainees, employees, and ICE personnel. Cambria Decl. ¶¶ 15, 16, 25. ICE
  15   does not provide widespread access to basic hygiene products, such as soap or hand
  16   sanitizer. Id. ¶ 28; Declaration of Shalyn Fluarty (“Fluarty Decl.”) ¶ 18. ICE and has
  17   not provided even minimally sufficient education to detainees about how to prevent
  18   the transmission of COVID-19. Cambria Decl. ¶ 27, Fluarty Decl. ¶ 17.
  19         Moreover, ICE detention facilities do not have the medical infrastructure to
  20   meet the demands of a pandemic. Meza Decl. ¶ 35. Even one infected person in a
  21   facility can infect the majority of people in the facility. Graves ¶ 11. Families
  22
  23   24
          Like other detention centers, Defendants’ facilities are accessible to staff and
  24   other outside contractors who may transmit the virus. Meyer Decl. ¶ 8; Graves
       Decl. ¶ 11, 27. The CDC has warned that “[t]here are many opportunities for
  25   COVID-19 to be introduced into a correctional or detention facility, including daily
  26   staff ingress and egress; transfer of incarcerated/detained persons between facilities
       and systems, to court appearances, and to outside medical visits; and visits from
  27   family, legal representatives, and other community members.” Interim Guidance on
  28   Management of Coronavirus Disease 2019 (COVID-19) in Correctional and
       Detention Facilities.
                                                         MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                  8        OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1   consistently express fear that, if forced to remain in ICE detention, they will die from
   2   COVID-19.. Fluarty Decl. ¶ 23.
   3                     b. ORR Facilities
   4         Class members are similarly at risk in ORR facilities, which often house
   5   multiple children in single rooms, with some sleeping in bunk beds placed close

   6   together. Declaration Of Peter Schey In Support Of Ex Parte Application For

   7   Temporary Restraining Order And Order To Show Cause Re: Preliminary Injunction
       (“Schey”) ¶ 5. Children are required to participate in group activities and classes
   8
       where they share space with others in confined areas. Children share school materials,
   9
       telephones, televisions, dining tables, and other equipment with other children. Id.
  10
             In Defendants’ facilities, toilets, sinks, and showers are shared and are used
  11
       regularly by large numbers of children. Id. Children in ORR facilities do not always
  12
       have independent access to soap and water or hand sanitizer. Id. In many facilities,
  13
       access to soap and water is limited to bathrooms. Id. Some facilities require children
  14
       to ask permission to use the bathroom and require staff supervision in bathroom areas.
  15
       Id. Children eat their meals in communal areas, in close proximity to other children
  16
       and staff. Id. Communal dining areas also create dangerous situations for the spread of
  17   COVID-19. Graves Decl. ¶ 11.
  18                3.     Risks to Detained Children
  19         Children in Defendants’ custody are at risk of serious illness if they contract
  20   COVID-19. Severe illness and death from COVID-19 have been reported in people of
  21   all ages, including children. Graves at ¶ 7. Even children without identifiable risk
  22   factors can become seriously ill from COVID-19.25 The largest study of pediatric
  23   COVID-19 patients to date showed that approximately 6% of infected children and
  24   25
         See Amara Walker, Alta Spells, and Melissa Alonson, 12-year-old girl with
  25   coronavirus is on a ventilator and fighting for her life, CNN, March 22, 2020,
  26   https://www.cnn.com/2020/03/22/us/georgia-coronavirus-girl-
       hospitalized/index.html, Panama: 13-year-old girl with coronavirus dies, officials
  27   say, AL JAZEERA, Mar. 23, 2020,
  28   https://www.aljazeera.com/news/2020/03/panama-13-year-girl-coronavirus-dies-
       officials-200323193144873.html.
                                                         MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                 9        OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1   11% of infected infants suffered from respiratory failure, shock, encephalopathy, heart
   2   failure, coagulation dysfunction, acute kidney injury, and life-threatening organ
   3   dysfunction.26 While children do seem to be less susceptible to COVID-19 compared
   4   with adults, “”there have still been a significant number of pediatric cases reported,
   5   including those becoming critically ill.” Peeler Decl. ¶ 8, citing Yuanyuan Dong, et

   6   al., “Epidemiological Characteristics of 2143 Pediatric Patients With 2019

   7   Coronavirus Disease in China,” Pediatrics (pre-publication release online Mar. 16,
       2020).
   8
             Certain children in ORR and ICE custody are at even higher risk of serious
   9
       illness if they contract COVID-19, including those with chronic illnesses or
  10
       compromised immune systems.27 Youth who are pregnant or parenting, or who have
  11
       pre-existing health conditions, may be similarly vulnerable.28
  12
  13                4.    Defendants’ Recently Adopted Safety Measures for
  14                      Congregate Care Facilities Fail to Protect Class Members from
                          COVID-19.
  15
  16
  17   26
          See Dong Y, Mo X, Hu Y, et al. Epidemiological characteristics of 2143
  18   pediatric patients with 2019 coronavirus disease in China, Pediatrics, 2020,
       https://pediatrics.aappublications.org/content/pediatrics/early/2020/03/16/peds.2020
  19   -0702.full.pdf.
       27
  20      See U.S. Center for Disease Control, Are you at risk for serious illness?, Mar. 18,
       2020, https://www.cdc.gov/coronavirus/2019-ncov/specific-groups/high-risk-
  21   complications.html.
       28
  22      Many children in ORR and ICE custody have also experienced intense trauma in
       their home countries and on their journey to the United States that may be
  23   exacerbated by the stress and uncertainty of detention.28 Post-traumatic stress
  24   disorder and related conditions are associated with weakened immune systems and
       a heightened susceptibility to infection. Graves Decl. at ¶ 13. The uncertainty and
  25   anxiety created by the pandemic creates unique risks for children. Haney Decl. at ¶
  26   12-16. Particularly during an emergency of this nature, children need the support of
       caring family or caregivers. Id. To the extent that Defendants’ programs respond to
  27   this public health risk by further isolating children and limiting opportunities for
  28   recreation or visits, this may further traumatize vulnerable children. Haney Decl. at
       ¶ 12; Meyer Decl. at ¶¶ 30, 34.
                                                         MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                 10       OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1                   a. ORR Guidance
   2
             ORR’s COVID-19 Interim Guidance for ORR Programs (“ORR Guidance”),
   3
       issued its contracted facilities on March 19, 2020 (Exhibit L), is inadequate to protect
   4
       children in ORR custody from the transmission of COVID-19 and contrary to current
   5
       CDC guidelines as well as widespread public health practice. See Graves Decl. ¶¶ 17-
   6
       24; Wang Decl. at ¶ 20-26.
   7
             The CDC has stated that “[t]he best way to prevent illness is to avoid being
   8
       exposed to this virus.”29 To minimize exposure, current CDC guidance stresses the
   9
       importance of practicing “social distancing” and frequently washing hands.30 The
  10   CDC defines social distancing as “remaining out of congregate settings, avoiding
  11   mass gatherings, and maintaining distance (approximately 6 feet or 2 meters) from
  12   others when possible.”31 On March 16, 2020, the White House introduced “The
  13   President’s Coronavirus Guidelines for America,” which urged people to “avoid social
  14   gatherings in groups of more than 10 people,” and “[d]isinfect frequently used items
  15   and surfaces as much as possible,” and urged states to “close schools in affected and
  16   surrounding areas,” and close indoor and outdoor venues where groups of people
  17   generally congregate, such as restaurants, food courts, and gyms.”32
  18         The ORR Guidance makes no mention of requiring or encouraging social or
  19   physical distancing between children or staff, nor of limiting the gathering of groups
  20
  21   29
          U.S. Centers for Disease Control & Prevention, How to Protect Yourself, Mar.
  22   18, 2020, https://www.cdc.gov/coronavirus/2019-ncov/prepare/prevention.html.
       30
          Id.
  23   31
          U.S. Centers for Disease Control & Prevention, Interim US Guidance for Risk
  24   Assessment and Public Health Management of Persons with Potential Coronavirus
       Disease 2019 (COVID-19) Exposures: Geographic Risk and Contacts of
  25   Laboratory-confirmed Cases, Updated Mar. 22, 2020,
  26   https://www.cdc.gov/coronavirus/2019-ncov/php/risk-assessment.html.
       32
          The White House & U.S. Centers for Disease Control & Prevention, The
  27   President’s Coronavirus Guidelines for America: 15 Days to Slow the Spread, Mar.
  28   16, 2020, https://www.whitehouse.gov/wp-
       content/uploads/2020/03/03.16.20coronavirus-guidance8.5x11315PM.pdf.
                                                         MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                 11       OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1   of children or staff within facilities. See Graves Decl. at ¶18; Wang Decl. at ¶ 21;
   2   Exhibit L (ORR Interim Guidance).33 This is not surprising, as it is nearly impossible
   3   for children detained in ORR facilities to engage in appropriate social distancing to
   4   prevent the transmission of COVID-19. Flamm Decl. ¶ 12. Unless the number of
   5   children at these facilities is drastically reduced, the majority of these facilities have

   6   insufficient space to allow children to maintain the required six-foot distance between

   7   themselves and the nearest child or staff member. Graves Decl. ¶¶ 28-32; Wang Decl.
       ¶ 28. Partial implementation of social distancing will not adequately protect
   8
       individuals from the spread of disease. See Graves at ¶ 28.
   9
             ORR may issue updated guidance in the coming days or weeks that adheres
  10
       more closely to the new CDC Detention Facility Guidance. However, unless the
  11
       updated guidance also provides for the expedited release of children such that strict
  12
       adherence to social distancing within ORR facilities is possible, it will not adequately
  13
       protect against the transmission of COVID-19 and the risk of serious illness and death
  14
       for detained children. See Graves Decl. ¶¶ 28-33; Wang Decl. ¶ 20.
  15
                        b. ICE’s Guidance
  16
  17
       33
  18      The ORR Guidance also neglects to:
       • Provide information on managing the spread of disease among particularly
  19   vulnerable children, such as those with heart disease, diabetes, asthma or other chronic
  20   respiratory disease, those with compromised immune systems, and infants. See Graves
       ¶ 22; Wang ¶ 22.
  21   • Anticipate a situation in which more children need to be quarantined than an ORR
  22   facility’s isolation rooms can accommodate. See Graves at ¶ 21; Wang at ¶ 24.
       • Ensure that children have independent access to hand washing and sanitizing
  23   supplies. See Graves ¶ 20. In many facilities, the only access to soap and water is
  24   located in the bathrooms and children are required to ask permission and obtain a staff
       escort before going to the bathrooms.
  25   • Provide a screening or testing protocol for children not deemed to be “at risk” but
  26   still exhibiting COVID-19 symptoms, which could allow the spread of disease. See
       Graves ¶ 23; Wang at ¶¶ 22, 25.
  27   • Provide that symptomatic children are provided with appropriate personal protective
  28   equipment to prevent the potential spread of disease. See Graves ¶ 24.

                                                           MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                   12       OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1         ICE’s COVID-19 guidance is similarly inadequate. It makes no mention of
   2   requiring or encouraging social or physical distancing between detainees or staff, nor
   3   of limiting the gathering of groups of detainees or staff within facilities.34 ICE
   4   guidance also insufficient with respect to protective equipment such as masks and
   5   gloves, quarantine measures and transportation of ill and potentially infected

   6   detainees. Graves Decl. ¶¶ 14-16.

   7         Legal counsel who routinely serve children in ICE custody report ICE is not
       following CDC guidelines to prevent the spread of COVID-19. Cambria Decl. ¶¶ 16-
   8
       19. “It is impossible for detained parents and children at the BCRC to practice social
   9
       distancing.” Id. ¶ 25. The is no education provided on how to prevent the spread, nor
  10
       is there adequate soap and hand sanitizers or other daily essentials needed to reduce
  11
       the risk of exposure. Id. ¶ 27-29. Unless the number of children and families at these
  12
       facilities is drastically reduced, the majority of these facilities have insufficient space
  13
       to allow detainees to maintain the required six-foot distance between themselves and
  14
       the nearest child or staff member. Cambria Decl. ¶ 25, 41.
  15
             ICE states that it continues to incorporate CDC’s COVID-19 guidance, which is
  16
       built upon the already established infectious disease monitoring and management
  17   protocols currently in use by the agency.35 In addition, ICE states that it is actively
  18   working with state and local health partners “to determine if any detainee requires
  19   additional testing or monitoring to combat the spread of the virus.” Id. However, legal
  20   counsel who routinely serve children in ICE custody report that class members sleep
  21   in overcrowded group settings (Cambria ¶ 16), share common bathrooms (Cambria ¶
  22   17), throughout the day are required to congregate together (Cambria ¶ 18), eat in a
  23   common area (Cambria ¶ 20), parents and children have not been educated about the
  24   COVID-19 outbreak (Cambria ¶ 29), parents and children have inadequate access to
  25   soap and hand sanitizer (Cambria ¶ 30), they are not provided gloves or masks
  26
  27   34
          See U.S. Immigration and Customs Enforcement, ICE Guidance on COVID-19,
  28   https://www.ice.gov/covid19 (Updated March 25, 2020).
       35
          Id.
                                                          MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                   13       OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1   (Cambria ¶ 31), are overseen by facility staff showing signs of illness (Cambria 33),
   2   and children showing symptoms like coughing, fever, sore throats, lethargy,
   3   congestion, and difficulty breathing, go untreated. (Cambria ¶ 34). See also Meza and
   4   Fluharty (same issues at Texas family detention facilities).
   5                    c. ORR’s and ICE’s Guidelines Fall Far Below Federal, State

   6                       and Local Mandates

   7         Many states have issued extraordinary and unprecedented measures to ensure
       “social distancing” and over 160 million Americans have been ordered to “shelter in
   8
       place.”36 For example, on March 19, 2020, Governor Gavin Newsom ordered 40
   9
       million Californians to stay in their homes, with limited exceptions, and maintain a
  10
       minimum distance of 6 feet from others.37 The following day, New York issued
  11
       similar orders, requiring a distance of “at least six feet” between people in public,
  12
       cancelling all “non-essential gatherings of individuals of any size for any reasons,”
  13
       closing all non-essential business, and requiring those essential business that remain
  14
       open to “implement rules that help facilitate social distancing of at least six feet.”38
  15
       Within the past two weeks, Washington D.C. and forty-six states have mandated
  16
       statewide school closures.39
  17         States have also adopted measures to limit exposure in congregate settings like
  18   homeless shelters. On February 24, 2020, New York issued guidance for homeless
  19   shelters.40 Even so, weeks later, individuals in New York homeless shelters have still
  20
  21   36
          Sarah Mervosh and Denise Lu, See Which States and Cities Have Told Residents
  22   to Stay Home, THE NEW YORK TIMES, Mar. 24, 2020, available at
       https://nytimes.com/interactive/2020/us/cornoavirus-stay-at-home-order.html.
  23   37
          https://covid19.ca.gov/.
       38
  24      https://www.governor.ny.gov/news/governor-cuomo-signs-new-york-state-pause-
       executive-order
  25   39
          David Nagel, Updated List on Statewide School Closures with Closure Dates,
  26   THE JOURNAL, Mar. 24, 2020, available at
       https://thejournal.com/articles/2020/03/17/list-of-states-shutting-down-all-their-
  27   schools-grows-to-36.aspx?m=1
       40
  28      Interim COVID-19 Guidance for Homeless Shelters, NYC DEPT. OF HEALTH,
       https://on.nyc.gov/39g0slr (last visited Mar. 25, 2020).
                                                          MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                  14       OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1   tested positive for COVID-19.41 Recognizing that large shelters are particularly
   2   susceptible to the spread of COVID-19, California is setting up shelters in trailers,
   3   hotels and motels to facilitate social distancing.42
   4   III.   ARGUMENT
   5   A.     Standard for Injunctive Relief Under Fed. R. Civ. P. 65.

   6          A plaintiff seeking preliminary relief under Federal Rule of Civil Procedure 65

   7   must establish “that he is likely to succeed on the merits, that he is likely to suffer
       irreparable harm in the absence of preliminary relief, that the balance of equities tips
   8
       in his favor, and that an injunction is in the public interest.” Winter v. Nat’l Res. Def.
   9
       Council, Inc., 555 U.S. 7, 20 (2008); Washington v. Trump, 847 F.3d 1151, 1159 n.3
  10
       (9th Cir. 2017) (noting standards for issuing temporary restraining orders and
  11
       preliminary injunctions are “substantially identical”). In balancing these elements, “a
  12
       stronger showing of one element may offset a weaker showing of another.” All For
  13
       The Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). Thus, when the
  14
       likelihood of grave irreparable injury is palpable and the balance of equities tips
  15
       sharply in plaintiffs’ favor, the plaintiff need only “demonstrate a fair chance of
  16
       success on the merits or questions serious enough to require litigation.” Arc of Cal. v.
  17   Douglas, 757 F.3d 975, 993-94 (9th Cir. 2014) (internal quotations and citation
  18   omitted).
  19   B.     Class Members Are Likely to Succeed on the Merits of Their Claims.
  20          The foregoing has demonstrated that class members in Defendants’ congregate
  21   detention are sitting ducks waiting to contract COVID-19. The threat of irreparable
  22   injury to their health and safety is palpable. Class Members therefore need only
  23
       41
  24      Coronavirus ‘Attack Rate’ in N.Y. Concerns White House, NYC TIMES (Mar. 24,
       2020), available at https://www.nytimes.com/2020/03/23/nyregion/coronavirus-
  25   new-york-update.html.
       42
  26      Governor Newson Takes Emergency Action & Authorizes $150 Million in
       Funding to Protect Homeless Californians from COVID-19, Office of Gov. Gavin
  27   Newsom (Mar. 18, 2020), available at https://gov.cal.gov/2020/03/18/governor-
  28   newsom-takes-emergency-action-authorizes-150-million-in-funding-to-protect-
       homeless-californians-from-covid-19/.
                                                          MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                   15         OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1   demonstrate “a fair chance of success on the merits or questions serious enough to
   2   require litigation” to secure preliminary relief. Arc of Cal., 757 F.3d at 993-94
   3   (internal quotations and citation omitted); All. for the Wild Rockies, 632 F.3d at 1132
   4   (“‘[S]erious questions going to the merits’ and a hardship balance that tips sharply
   5   toward the plaintiff can support issuance of an injunction, assuming the other two

   6   elements of the Winter test are also met.”).43 Class Members’ prospects here far

   7   exceed a “fair chance” of succeeding on the merits.
             The Flores Settlements vests children who have custodians available to receive
   8
       them with substantive rights against ORR’s keeping them in congregate care, and
   9
       protects children detained with their families in ICE facilities. This is especially true
  10
       during a global pandemic, which will only worsen in the coming days.
  11
       1.    Right to Prompt Release
  12
             The Agreement protects all minors in immigration-related detention, whether
  13
       they are taken into custody alone or in the company of parents or other relatives.
  14
       Flores v. Lynch, 828 F.3d 898, 905-07 (9th Cir. 2016) (“Flores I”).44
  15
             The Agreement obliges the Government to “release a minor from its custody
  16
       without unnecessary delay. . . .” Agreement ¶ 14. The Agreement further requires the
  17   Government to “make and record the prompt and continuous efforts on its part toward
  18   family reunification and the release of the minor pursuant to Paragraph 14.” Id. ¶ 18.
  19
  20   43
          Plaintiff’s evidence meets and exceeds even the higher “likelihood of success of
  21   the merits” standard that applies when the equites are not as starkly balanced as
  22   they are here. Preliminary relief is therefore appropriate under either standard.
       44
          “The Settlement is a consent decree, which, ‘like a contract, must be discerned
  23   within its four corners, extrinsic evidence being relevant only to resolve ambiguity
  24   in the decree.’” Flores I, 828 F.3d at 904 (quoting United States v. Asarco Inc., 430
       F.3d 972, 980 (9th Cir. 2005)). The district court was therefore called upon to
  25   interpret the Agreement according to its “plain language,” Nodine v. Shiley Inc.,
  26   240 F.3d 1149, 1154 (9th Cir. 2001), construe it “as a whole and every part
       interpreted with reference to the whole,” Kennewick Irrigation Dist. v. United
  27   States, 880 F.2d 1018, 1032 (9th Cir. 1989) (citation omitted), and prefer
  28   “reasonable interpretations as opposed to those that are unreasonable, or that would
       make the contract illusory.” Id.
                                                          MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                  16       OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1   If more than one potential custodian is available, the Government must generally
   2   release a child first to a parent, then to a legal guardian, adult relative (sibling, aunt,
   3   uncle, or grandparent), an unrelated adult or entity designated by the minor’s parent, a
   4   licensed program, and finally, if there is no likely alternative to long-term detention, a
   5   reputable unrelated adult. Id. ¶ 14A-F.

   6         Additionally, the Flores Settlement provides: “Where the INS determines that

   7   the detention of the minor is not required either to secure his or her timely appearance
       before the INS or the immigration court, or to ensure the minor’s safety or that of
   8
       others, [Defendants] shall release a minor from [their] custody without unnecessary
   9
       delay” to a parent, guardian, adult relative (brother, sister, aunt, uncle, or
  10
       grandparent), or a licensed group home. Agreement (emphasis added). Further
  11
       grounding Defendants’ obligation to minimize children’s detention, ¶ 18 of the
  12
       Agreement provides, “Upon taking a minor into custody, the INS . . . shall make and
  13
       record the prompt and continuous efforts on its part toward . . . the release of the
  14
       minor . . .” According to the most recent ORR data at Plaintiffs’ disposal, as of March
  15
       13, 2020, ORR had 3,622 children in custody, 1,193 of whom—nearly a third—the
  16
       agency had placed in congregate settings after having detained them for 30 days or
  17   more. Schey ¶ 3. ORR’s data do not indicate why the agency failed to release these
  18   children, nor how many of these 1,193 have custodians available to care for them, yet
  19   the vast majority undoubtedly do.45
  20
  21   45
         ORR categorizes detained children pursuant to the affinity of potential custodians
  22   appears in § 2.2.1 of its online Policy Guide, available at
       www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-
  23   section-2#2.7 (last visited March 23, 2020). Roughly 42 percent of children in ORR
  24   custody are “Category 1”: that is, they have parents or guardians in the United
       States. Schey at ¶ 9 (authenticating ORR materials produced during meeting at
  25   Shiloh RTC with class Counsel Carlos Holguin and Special Master Andrea
  26   Sheridan Ordin). Another 47 percent are “Category 2”: that is, they have another
       “immediate” relative—a brother, sister, grandparent, aunt, uncle, or first cousin—to
  27   whom they could be released. Id. Another 11 percent are “Category 3”: that is,
  28   children with “other sponsors,” such as “more distant relatives and unrelated adult

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   1         In 2019, children remained in ORR custody for an average of 66 days, and
   2   many children are detained for substantially longer periods of time. See Office of
   3   Refugee Resettlement, Facts and Data: Length of Care,
   4   https://www.acf.hhs.gov/orr/about/ucs/facts-and-data (last visited March 23, 2020).
   5         Under ORR’s procedures —

   6         a.    ORR does not decide within any time certain whether a detained minor’s

   7         parent or other proposed custodian is suitable;
             b.    ORR does not provide a detained minor, or his or her parent or other
   8
             proposed custodian, an opportunity to inspect or rebut evidence derogatory of
   9
             the proposed custodian’s fitness;
  10
             c.    ORR does not afford a detained minor or his or her proposed custodian a
  11
             hearing before a neutral and detached decisionmaker either before or after ORR
  12
             declares a potential custodian unfit;
  13
             d.    Once ORR decides a proposed custodian is unsuitable, it need not inform
  14
             a detained minor or the proposed custodian of its decision for up to 30 days;
  15
             e.    ORR allows detained minors no appeal or other administrative recourse
  16
             from its finding a proposed custodian unsuitable, though such a decision nearly
  17         always prolongs the minor’s detention;
  18         f.    Except for parents and legal guardians, ORR allows rejected custodians
  19         no appeal from a decision declaring them unfit, which nearly always prolongs
  20         an affected minor’s detention;
  21         g.    As for parents and legal guardians, ORR’s policy requires them to submit
  22         a written request to HHS’s Assistant Secretary for Children and Families to be
  23         heard regarding ORR’s declaring them unfit, but a hearing need not be
  24         convened within any time certain.
  25
  26
  27   individuals.” Id. The remainder are “Category 4”: children for whom ORR has
  28   identified no potential custodian.

                                                       MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
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   1   www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-
   2   section-2 (last visited March 24, 2020).
   3         In the vast majority of cases,46 delay releasing class members is attributable
   4   either to (1) entirely elective investigatory measures, or (2) administrative torpor or
   5   indifference.47

   6         Seven days should be more than enough for ORR to manage post-release risk.

   7   See e.g., Declaration of James Owens, Feb. 7, 2018, Exhibit K, ¶ 6 (state dependency
       courts determine cause to detain children within three days); Exhibit M (ORR Manual
   8
       of Procedures, at § 2.2.2 (care providers generally expected to complete custodian
   9
       evaluations within 10-21 days), § 2.7.2 (case coordinators expected to make
  10
       recommendation within 1 business day), and § 2.7.3 (Federal Field Specialists
  11
       expected to make release decisions within 1-2 business days of receiving case
  12
       coordinator recommendations)). Class counsel recently secured the release of a class
  13
       member in ORR custody to his undocumented father in about five days. Schey 3. Any
  14
       marginal gains to that ORR may claim for child safety from their prolonged
  15
       investigations of sponsors for more than 30 days cannot outweigh the harm congregate
  16
       detention will inevitably cause to the health and safety of children in ORR and ICE
  17   custody.
  18
  19
  20   46
          The TVPRA, 8 U.S.C. § 1232 (c)(3)(B) does require ORR to conduct home
  21   studies before releasing trafficking and abuse victims and children with special
  22   needs, but relatively few class members—and certainly not a third—fall within
       these special categories. Nor is there any apparent reason ORR could not generally
  23   complete a home study within 30 days. See MAP § (directing that cases be referred
  24   for home studies within days and completed within days of referral).
       47
          In devising its own requirements for proposed custodians, ORR has an
  25   established track record of arbitrariness and vacillation. See, e.g., Order re
  26   Plaintiffs’ Motion to Enforce Class Action Settlement, July 30, 2018 (Doc. #470) at
       27-29 (disapproving ORR requirement that its director approve release of any child
  27   placed in a restrictive setting); id. at 29-30 (disapproving ORR requirement that
  28   myriad post-release services be in place before any child is released to a sponsor
       subjected to a home study).
                                                         MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                  19       OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1         For its part, ICE simply does not undertake or record any efforts aimed at the.
   2   release of minors as required by Paragraphs 14 and 18 of the Agreement. Schey ¶ 7.
   3   During the mandatory meet and confer conference Defendants made clear this is the
   4   case, and it is fully confirmed by all legal services providers who represent detained
   5   class members in their individual cases. Id. See also Cambria ¶ 39; Fluharty ¶ 44;

   6   Meza ¶ 43.

   7         Pursuant to the terms of the Agreement and Court Order, Defendants provide
       monthly data of class members in custody to Plaintiffs' class counsel. The most recent
   8
       data provided to class counsel is for the month of February 2020. Schey ¶ 2.
   9
             A preliminary review of data provided by Defendants to class counsel on a
  10
       monthly basis shows that during February 2020 ICE detained about 3,359 class
  11
       members in ICE family detention facilities. Schey ¶ 4. Of these class members it
  12
       appears two (2) were apprehended in 2014. Id. Four (4) were apprehended in 2018 and
  13
       have been detained for over fourteen months. Id. About ten (10) have been detained
  14
       for about one year and another ten (10) have been detained for about eleven months.
  15
       Id. About twenty-six (26) have been detained for about ten months, fifteen (15) for
  16
       about nine (9) months, eleven (11) for about eight months, fifty-eight (58) for about
  17   seven (7) months, ninety six (96) for about six (6) months, two hundred and five (205)
  18   five (5) months, one hundred and fifty-one (151) for about four (4) months, two
  19   hundred and ninety-three (293) for three (3) months, and nine hundred and eighty
  20   (980) have been detained for two months. Id. In short, about 1,861 class members
  21   appear now in ICE custody have been detained for three months or longer with no
  22   efforts made by Defendants to release them under the terms of the Agreement.48
  23         When the alternative is to leave children on the tracks with the COVID-19 train
  24   fast approaching, Defendants’ not releasing minors without unnecessary delay and
  25   ICE’s blatant violation of the Agreement and this Court’s Orders, are unconscionable.
  26
  27
       48
  28     During February about 23 class members were released by ICE on "orders of
       recognizance," and about 348 were released on parole. Id.
                                                        MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                 20       OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1         The temporary procedural relief Plaintiffs seek is a minimal step to protect
   2   children’s substantive rights under the Agreement and the Court’s prior Orders
   3   requiring the prompt release of minors who are neither a flight risk nor a danger. The
   4   children’s right to Defendants’ compliance with the Agreement they reached with
   5   Plaintiffs has now become critically important to avoid unnecessarily keeping children

   6   in congregate detention endangering their health and well-being during a global

   7   pandemic.
       2.    Right to safe and sanitary conditions of detention
   8
             The Settlement further requires that ICE and ORR understand that children in
   9
       immigration detention are vulnerable, even when they are detained with their families.
  10
       The Settlement, therefore, requires that all decisions on a minor’s custody must be
  11
       made taking into account the particular vulnerability of children as well as to protect
  12
       the minor’s well-being and that of others. See id. at ¶ 11. Additionally, Paragraph 12
  13
       of the Flores Settlement requires Defendants detain children “in facilities that are safe
  14
       and sanitary and that are consistent with [their] concern for the particular
  15
       vulnerability of minors.”
  16
             Paragraphs 6 and 19 of the Settlement require Defendants to place the general
  17   population of detained children in state-licensed facilities that comply with both state
  18   health and safety standards and the minimum standards listed in Exhibit 1 to the
  19   Settlement. These include “[p]roper physical care and maintenance, including suitable
  20   living accommodations.” Settlement Exhibit 1, ¶ A.1. Exhibit 1 requires, inter alia,
  21   “[a]ppropriate routine medical … care, … emergency health care services, …
  22   screening for infectious disease[ ] within 48 hours of admission …[and]
  23   immunizations in accordance with the U.S. Public Health Service (PHS), Center
  24   for Disease Control.” Id. The parties to the Agreement clearly agreed that the
  25   health of detained class members was of paramount importance.
  26         During a public health crisis, Defendants continuing to detain class members in
  27   congregate detention for long periods of time while delaying or entirely ignoring their
  28   right to release without unreasonable delay is in prima facie violation of their

                                                         MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
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   1   obligation to provide class members with safe conditions of detention. Agreement ¶
   2   12. As a result, there is a high likelihood that Class Members have been and will
   3   continue to be subjected to the risk of death or serious illness and the traumatic effects
   4   of heightened isolation associated with this pandemic. See Graves at ¶ 13; Haney at ¶
   5   12.49

   6           This Court should require Defendants to articulate good cause for exposing

   7   children to the clear dangers of congregate detention in lieu of release to their families
       or transfer to non-congregate settings.
   8
       C.      Absent a Temporary Restraining Order, Class Members In Congregate
   9
               Facilities Will Suffer Irreparable Injury.
  10
               “Irreparable harm is the single most important prerequisite for the issuance of a
  11
       preliminary injunction.” Spark Indus., LLC v. Kretek Int'l, Inc., No. CV 14-5726-
  12
       GW(ASX), 2014 WL 12600262, at *3 (C.D. Cal. July 29, 2014) (citations omitted).
  13
       Increased risk of exposure to a deadly virus by virtue of placement in congregate
  14
       detention facility for children who are neither flight risks nor a danger represents a
  15
       paradigmatic example of imminent irreparable harm.50
  16
  17   D.      The Equities Weigh Heavily in Plaintiffs’ Favor and the Issuance of the
  18           Temporary Restraining Order and Preliminary Injunction is in the Public
               Interest.
  19           In this case, the equities and public interest merge into a single balancing test
  20   because the Defendants are government officials. See Nken v. Holder, 556 U.S. 418,
  21
       49
  22      Class Members will also be deprived of essential support from family members
       or other caring adults at this time of extreme stress and anxiety. Haney at ¶ 12-16.
  23   50
          An imminent threat to health and safety constitutes irreparable harm. In
  24   Unknown Parties v. Johnson, No. CV-15-00250-TUC-DCB, 2016 WL 8188563, at
       *15 (D. Ariz. No. 18, 2016), aff’d sub nom Doe v. Kelly, 878 F.3d 710 (9th Cir.
  25   2017), the court issued an injunction to curb inhumane treatment of civil
  26   immigration detainees where evidence demonstrated “the physiological effects of
       sleep deprivation or constant discomfort that comes from an inadequate food
  27   supply, or health risks related to exposure due to contaminated water or unsanitary
  28   cells, or medical risks associated with being unable to continue taking prescription
       medications or being exposed to communicable diseases.”
                                                            MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
                                                   22        OSC WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
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   1   435 (2009); see also California v. Azar, 911 F.3d 558, 581 (9th Cir. 2018). In
   2   balancing the equities, “[a] court must balance the competing claims of injury and
   3   must consider the effect on each party of the granting or withholding of the requested
   4   relief.” Arc of Cal., 757 F.3d at 991 (quoting Amoco Prod. Co. v. Vill. of Gambell,
   5   480 U.S. 531, 542 (1987)).51

   6          The balance here tips decidedly in favor of Plaintiffs’ interest in health and

   7   safety. Unless this Court intervenes, class members are likely to suffer serious and
       severe irreparable harm, including potential exposure to COVID-19 and the effects
   8
       thereof should they become infected. No purported government interest justifies
   9
       subjecting children to these conditions. See Lopez v. Heckler, 713 F.2d 1432, 1437
  10
       (9th Cir. 1983) (“Faced with [] a conflict between financial concerns and preventable
  11
       human suffering, [the court has] little difficulty concluding that the balance of
  12
       hardships tips decidedly in plaintiffs’ favor.”) (emphasis added), quoted by Hernandez
  13
       v. Sessions, 872 F.3d 976, 996 (9th Cir. 2017).
  14
              Granting Plaintiffs’ motion would not subject Defendants to any identifiable
  15
       hardship outweighing the irreparable harm to class members’ health and safety.
  16
       Moreover, “it is obvious that compliance with the [Agreement] is in the public
  17   interest.” N.D. ex rel. parents acting as guardians ad litem v. Hawaii Dep't of Educ.,
  18   600 F.3d 1104, 1113 (9th Cir. 2010); see also Small v. Avanti Health Sys., LLC, 661
  19   F.3d 1180, 1197 (9th Cir. 2011) (The “public interest favors applying federal law
  20   correctly.”).52
  21
  22
  23   51
          In performing this balancing, “the Ninth Circuit expects lower courts to protect
  24   physical harm to an individual over monetary costs to government entities.”
       McNearney v. Washington Dep’t of Corr., No. 11-cv-5930 RBL/KLS, 2012 WL
  25   3545267, at *15 (W.D. Wash. June 15, 2012).
       52
  26      Because the requested temporary restraining order and preliminary injunction
       would simply mandate compliance with the Agreement, which is “enforceable as a
  27   judicial decree,” Labor/Cmty. Strategy Ctr. v. Los Angeles Cty. Metro. Transp.
  28   Auth., 263 F.3d 1041, 1048 (9th Cir. 2001), the Government could suffer no harm
       as a result.
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   1         Granting Plaintiffs’ request for preliminary relief also serves the public interest
   2   because allowing COVID-19 to spread in Defendants’ facilities endangers the general
   3   public. As public health experts have explained, reducing the number of individuals in
   4   dangerous congregate care settings protects both those individuals and the
   5   communities around them. An outbreak of COVID-19 in a congregate environment,

   6   such as an ORR or ICE facility, could quickly overtake the capacity of local health

   7   care resources, and would likely require transport of infected class members,
       potentially to areas where COVID-19 has not yet spread. See Graves at ¶ 36; Letter
   8
       to Congress Profs. Allen and Rich at 4.
   9
             Accordingly, the proposed temporary Order proposed by Plaintiffs will cause
  10
       no countervailing injury to Defendants, and serves the broader public interest.
  11
       VII. CONCLUSION
  12
             For the foregoing reasons, the Court should grant this application for a
  13
       temporary restraining order and order Defendants to show cause why a preliminary
  14
       injunction should not issue in the form lodged herewith.
  15
  16
       Dated: March 26, 2020           CENTER FOR HUMAN RIGHTS AND
  17                                   CONSTITUTIONAL LAW
  18                                   Peter A. Schey
                                       Carlos R. Holguin
  19
  20                                   USF SCHOOL OF LAW IMMIGRATION CLINIC
                                       Bill Ong Hing
  21
  22                                   LA RAZA CENTRO LEGAL, INC.
                                       Stephen Rosenbaum
  23
                                       UNIVERSITY OF CALIFORNIA DAVIS
  24
                                       SCHOOL OF LAW
  25                                   Immigration Law Clinic
                                       Holly S. Cooper
  26
  27                                   THE LAW FOUNDATION OF SILICON VALLEY
                                       Jennifer Kelleher Cloyd
  28
                                       Katherine H. Manning
                                                         MEMO OF PS&AS IN SUPPORT OF EX PARTE APP FOR TRO AND
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   1                               Annette Kirkham
   2
                                   Of counsel:
   3
   4                               ALDEA - THE PEOPLE’S JUSTICE CENTER
                                   Bridget Cambria
   5
   6
                                               /s/ Peter Schey
   7                                     Peter A. Schey
   8                                     Attorneys for Plaintiffs

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                                      CERTIFICATE OF SERVICE
   1
   2
   3            I, Peter Schey, declare and say as follows:
   4            I am over the age of eighteen years of age and am not a party to this action. I
   5   am employed in the County of Los Angeles, State of California. My business
   6   address is 256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and
   7   state.
   8            On March 26, 2020, I electronically filed the following document(s):
   9
  10      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
          PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY
  11      RESTRAINING ORDER AND ORDER TO SHOW CAUSE RE
  12      PRELIMINARY INJUNCTION.

  13
  14   with the United States District Court, Central District of California by using the
  15   CM/ECF system. Participants in the case who are registered CM/ECF users will be
  16   served by the CM/ECF system.
  17
  18                                                                        /s/Peter Schey
                                                                            Attorney for Plaintiffs
  19
  20
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                                                       1
        MEMORANDUM OF PS&AS IN SUPPORT OF EX PARTE APPLICATION FOR TRO AND OSC WHY A PRELIMINARY INJUNCTION
                                                                                          SHOULD NOT ISSUE
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